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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

WW CONTRACTORS INC. *
Plaintiff
vs. Civil Action No. CCB-18-1341
*

SARAI INVESTMENT CORPORATION. et al.

Det`endants. *

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ORDER

Plaintiff having filed bankruptcy proceedings in Which an automatic stay has been issued,
t {’
it is, thisQLday ofjune, 2018,
ORDERED that this action be administratively closed Without prejudice to the right of

either party to move to reopen this action for good cause shown.

M

Catherine C. Blake
United States District Judge

U.S_ Districl Court (Rev. 12)‘|999)

